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13:32:27   1                      UNITED STATES DISTRICT COURT
                                  SOUTHERN DISTRICT OF FLORIDA
13:32:27   2                            MIAMI DIVISION
                                   CASE
                                   CASE NO. 18-cv-60788-JEM
13:32:27   3

13:32:27   4    SPRINT COMMUNICATIONS, INC.,
                                       INC.,

13:32:27   5                      Plaintiff,

13:32:27   6          vs.

13:32:27   7                                             Miami, Florida
                                                         May 27, 2020
13:32:27   8    STEPHEN CALABRESE, et al.,
                                      al.,               Pages 1-14
                                                         1:32 - 1:56 p.m.
13:32:27   9                   Defendants.
                _______________________________________________________________
13:32:27 10
                             TRANSCRIPT OF TELEPHONIC STATUS CONFERENCE
13:32:27 11                     BEFORE
                                BEFORE THE HONORABLE JOSE E. MARTINEZ
                                    UNITED STATES DISTRICT JUDG
                                                            UDGE
13:32:27 12
                APPEARANCES:
13:32:27 13
                FOR THE PLAINTIFF:
13:32:27 14                             McGuireWoods, LLP
                                        BY: LUCY J. WHEATLEY, ESQ.
13:32:27 15                             BY: AMANDA L. DeFORD, ESQ.
                                        800 East Canal Street
13:32:27 16                             Richmond, Virginia 23219

13:32:27 17     FOR THE DEFENDANT
                        DEFENDANTS:
                                        Erickson Kernell IP
13:32:27 18                             BY: JAMES
                                             JAMES J. KERNELL,
                                                       ERNELL, ESQ.
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                                        Leawood, Kansas 66206
13:32:27 20
                                        Lee & Amtzis, PL
13:32:27 21                             BY: WAYNE SCHWARTZ, ESQ.
                                        5550 Glades Road
13:32:27 22                             Boca Raton, Florida 33431

13:32:27 23     REPORTED BY:            DAWN M. SAVINO,
                                                SAVINO, R.P.R., C.R.R.
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13:32:27   1                             P-R-O-C-E-E-D-I-N-G-S

13:33:31   2               (Court called to order)

13:34:12   3               COURTROOM DEPUTY:        Hi, I'm going to transfer you now.

13:34:19   4               THE COURT:     Good afternoon.     Are we ready to begin?

13:34:19   5               MR. KERNELL:     Yes, Your Honor.

13:34:21   6               MS. WHEATLEY:     Yes, Your Honor.

13:34:25   7               THE COURT:     Okay.     Let's have appearances, starting

13:34:31   8    with the Plaintiff so that my court reporter can log it all in.

13:34:34   9               MS. WHEATLEY:     Yes.     This is Lucy Wheatley for the

13:34:37 10     Plaintiff Sprint Communications, Inc.          I'm from the firm

13:34:41 11     McGuireWoods, LLP.

13:34:44 12                MS. DeFORD:     And Your Honor -- I apologize.     This is

13:34:49 13     Amanda DeFord from McGuireWoods, LLP, also on behalf of

13:34:51 14     Plaintiff Sprint Communications, Inc.

13:34:51 15                THE COURT:     Good afternoon.

13:34:53 16                Defense?

13:34:56 17                MR. SCHWARTZ:     Yes, Your Honor.     Wayne Swartz, Lee and

13:35:02 18     Amtzis, one of the defense counsel.

13:35:05 19                Mr. KERNELL:     And Jim Kernell with Erickson Kernell

13:35:07 20     also representing the defense.

13:35:10 21                THE COURT:     All right.     Since this is the Defendants'

13:35:12 22     motion for status conference, do you want to start or do you

13:35:15 23     want to let the Plaintiff start?         I don't really much care, but

13:35:21 24     I do want to get an idea of what's going on and what happens

13:35:22 25     next.


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13:35:26   1               MR. KERNELL:    Yes, Your Honor.    This is Jim Kernell on

13:35:29   2    behalf of the Defendants.      We wanted to -- we asked for this

13:35:33   3    status conference to bring some, I guess, milestones if you

13:35:39   4    will, to the attention of the Court and ask for the Court's

13:35:47   5    direction.     On April 1st of this year, 2020, T-Mobile completed

13:35:53   6    acquisition of Sprint Communications, Inc. and on April 13th

13:35:59   7    then following the acquisition by T-Mobile, Sprint terminated

13:36:07   8    its registration with the SEC.       As part of the acquisition,

13:36:13   9    Sprint did not transfer any of the Nextel marks, the trademarks

13:36:19 10     or the found mark, the three trademarks that are at issue in

13:36:21 11     this case, they didn't transfer any of those marks to T-Mobile.

13:36:31 12     And at this point now neither Sprint nor T-Mobile own, operate

13:36:35 13     or license any cellular frequencies, which are subject to one of

13:36:41 14     the marks, so they can't be using, you know, the Nextel mark for

13:36:44 15     telecommunications services.

13:36:50 16                The second thing is that neither Sprint nor Nextel now

13:36:59 17     offer any devices with Nextel on them.        And so again, you know,

13:37:05 18     that they can't be using that Nextel mark, you know, in commerce

13:37:07 19     for the devices, you know, as set forth.

13:37:14 20                And the last thing is that T-Mobile has announced that

13:37:22 21     it will be discontinuing the Sprint brand in its entirety as of

13:37:25 22     August 1st.

13:37:29 23                So we're in a situation where, you know, our motion for

13:37:33 24     summary judgment and this whole lawsuit was about Sprint

13:37:38 25     abandoning the Nextel marks.       With this acquisition, this was


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13:37:43   1    the final -- you know, basically the final straw.          You know,

13:37:46   2    none of the marks that are issue in this case have been

13:37:49   3    transferred or going to be transferred.

13:37:57   4               In addition, there was a Nextel Direct Connect mark

13:38:03   5    that went abandoned back in September now of last year.           So, you

13:38:09   6    know, the whole abandonment, the intent to abandon, all of that

13:38:15   7    has happened and in fact, you know, the Plaintiff is no longer

13:38:20   8    really a viable entity anymore; it's been absorbed or merged

13:38:21   9    into T-Mobile.

13:38:27 10                So we're looking at either substituting T-Mobile on

13:38:35 11     behalf of Sprint Communications, Inc. or, you know, some

13:38:37 12     termination of this case.

13:38:40 13                THE COURT:    Okay.     Sounds like something needs to be

13:38:45 14     done.    Let's hear from Ms. Wheatley or Ms. DeFord.

13:38:48 15                MS. WHEATLEY:     Your Honor, this is Lucy Wheatley for

13:38:54 16     the Plaintiff.     What Mr. Kernell says is simply incorrect.          The

13:38:57 17     Nextel marks are still very much live, they are registered.

13:39:02 18     There is one registration for Nextel Direct Connect which Sprint

13:39:07 19     has opted not to renew, but that was never a part of this case.

13:39:10 20     But the suggestion that Sprint is no longer selling devices or

13:39:16 21     operating in a wireless space as part of T-Mobile is simply

13:39:22 22     wrong.    It very much is.       I assure you I am still being paid and

13:39:24 23     the company still --

13:39:27 24                THE COURT:    That's good news.     So some good news came

13:39:28 25     out of it anyway.


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13:39:29   1                MS. WHEATLEY:     Yes.     So the suggestion that there is no

13:39:33   2    company there or that there is no case is simply nonsense,

13:39:34   3    frankly.

13:39:40   4                Furthermore, even if every single thing Mr. Kernell

13:39:44   5    just said was true, which it is not, this case is still an

13:39:48   6    infringement lawsuit which would still go to Defendant's actions

13:39:53   7    prior to when the lawsuit began and during the lawsuit, so

13:39:57   8    there's still very much an infringement case.           The case is not

13:40:01   9    about abandonment.       The Defendants would like to make it about

13:40:04 10     abandonment, but it's about the fact that they are

13:40:08 11     counterfeiting the Nextel brand and trying to convince the

13:40:10 12     public that they are Nextel when they are not.

13:40:16 13                 So our position would be nothing has changed and this

13:40:20 14     litigation is very much live and we intend to carry it through

13:40:23 15     to its conclusion.

13:40:29 16                 THE COURT:     Okay.     Defense, what is your position on

13:40:31 17     that?

13:40:32 18                 MR. KERNELL:     Yes, Your Honor, this is Jim Kernell.

13:40:37 19     What Ms. Wheatley said, I think, is -- the key there is what she

13:40:42 20     didn't say.     She said that Sprint is operating in the wireless

13:40:47 21     space.     Yes, Sprint is under T-Mobile.       Nextel, the mark Nextel,

13:40:55 22     is not.     And again, Sprint is going away August 1st.        The brand

13:41:00 23     itself, T-Mobile is not going to -- all the stores are changing.

13:41:04 24     Sprint's not going to be around anymore.          And T-Mobile has

13:41:10 25     publicly said that, that Sprint, that brand, they are not going


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13:41:13   1    to use it, it's going to be abandoned going forward.

13:41:17   2                What she also did not address whatsoever is Nextel.

13:41:22   3    There's not a single Nextel device that you can buy from a

13:41:26   4    Sprint store or a T-Mobile store on the market today, and it

13:41:31   5    hasn't been for some time.      This is an abandonment case because

13:41:35   6    they haven't, for a number of years, sold any Nextel devices.

13:41:41   7    You cannot buy Nextel service which is the basis of another one

13:41:47   8    of the claims.     And so everything that I said, that T-Mobile

13:41:55   9    completed the acquisition on Sprint on April 1, 2020, that is,

13:42:03 10     in fact, true and Plaintiff cannot dispute that.          I mean, that's

13:42:08 11     filed with the FCC and the SEC.

13:42:16 12                 As far as the FCC, with the -- with all the lines, the

13:42:21 13     frequencies used by Sprint, all of those have been transferred

13:42:25 14     to T-Mobile.     So in fact, if you go to a Sprint store and you

13:42:30 15     set up a Sprint wireless plan, it is not on any Sprint line, it

13:42:35 16     is actually on T-Mobile lines that they have licensed through

13:42:37 17     the FCC.

13:42:44 18                 So again, not a single one of the Nextel marks are

13:42:47 19     being used.     They haven't been transferred, they're not part of

13:42:51 20     the transfer, they were not part of the acquisition from

13:42:56 21     T-Mobile to Sprint or Sprint to T-Mobile because T-Mobile has

13:43:01 22     said they're not using those marks.        They haven't been used for

13:43:06 23     years.     So I'm not sure -- you know, again, if Ms. Wheatley

13:43:14 24     would address the Nextel marks directly rather than take the

13:43:18 25     sidestep to Sprint, I think that would be helpful as to where we


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13:43:20   1    are.

13:43:27   2               Also, the fact, you know, that Sprint terminated its

13:43:32   3    registration with the SEC, it's no longer a publicly traded

13:43:36   4    company and yet I'm sure Ms. Wheatley is being paid by Sprint,

13:43:41   5    but that's always -- in winding up business, that may go on.

13:43:45   6    But it doesn't address the fact that those marks, the Nextel

13:43:49   7    marks that are at issue in this case, are not being used and

13:43:55   8    they have been finally explicitly abandoned through this

13:43:56   9    acquisition.

13:43:59 10                THE COURT:    Let me ask Ms. Wheatley, how does this

13:44:04 11     affect the summary judgment motions?        Doesn't the changed

13:44:09 12     status, do they just -- is it your position they just get

13:44:13 13     substituted in for Sprint if we deny the motion for summary

13:44:18 14     judgment, and do we need to have additional briefing or some

13:44:22 15     additional argument on the MSJ?

13:44:23 16                MS. WHEATLEY:    Your Honor, it is our position that this

13:44:27 17     does not affect the summary judgment motion and I'll explain

13:44:31 18     why, and I want to address Mr. Kernell's suggestion that we're

13:44:35 19     trying to sidestep anything.       I will say it explicitly.      Nextel

13:44:39 20     is still very much being used in commerce and Mr. Kernell's

13:44:43 21     suggestion that nothing is being sold with the Nextel brand is

13:44:50 22     simply false.     And in fact, Your Honor just denied a PI motion

13:44:54 23     filed by Defendants which they claimed had to be filed because

13:44:58 24     Sprint was using the Nextel brand on devices that were being

13:45:03 25     sold.   Those devices are still very much being sold.         So the


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13:45:07   1    suggestion that Sprint has not -- it is not still using Nextel

13:45:14   2    is ludicrous, otherwise Mr. Kernell would not have filed for

13:45:18   3    preliminary injunction trying to get Sprint to stop using

13:45:22   4    Nextel.     So I want to make that very clear.      Nextel is in use in

13:45:24   5    commerce, that has not changed, that has never changed, it is

13:45:27   6    not going to change.

13:45:29   7                Now, if we're getting to summary judgment, we don't see

13:45:35   8    the need for any further briefing or any change.          Again,

13:45:39   9    regardless of what has happened with the merger, it does not

13:45:42 10     change the fact of Defendants' infringement.         Defendants are not

13:45:46 11     the Plaintiff here, we are, we sued them for infringing the

13:45:52 12     Nextel brand and frankly, no matter what has happened with the

13:45:56 13     merger now, it does not change whether or not they infringed

13:46:00 14     previously and it especially doesn't --

13:46:03 15                 THE COURT:   The parties remain the same?      In other

13:46:07 16     words, you are still talking about Sprint being the Plaintiff in

13:46:10 17     the case?

13:46:13 18                 MS. WHEATLEY:   Yes.   Sprint is still the owner of

13:46:20 19     record for the relevant trademark registrations so unless that

13:46:23 20     changes, Sprint needs to be the party in the case.

13:46:23 21                 THE COURT:   Right.

13:46:25 22                 MS. WHEATLEY:   If it needs to change, we're happy to

13:46:30 23     substitute in the party name, but there has been no sort of

13:46:35 24     cessation of Nextel or any material change in the use in

13:46:37 25     commerce which is what is relevant for this litigation.


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13:46:41   1    Mr. Kernell is talking about changes in corporate structure

13:46:44   2    which are irrelevant when it comes to whether or not the brand

13:46:48   3    is being used and whether or not they're still infringing.

13:46:51   4               THE COURT:    I don't much care about that.      It does not

13:46:54   5    seem to me that that's particularly relevant either.

13:46:59   6               All right.    Well, what else do we need to know?         I'm

13:47:04   7    not sure that this is the proper vehicle to say 'fess up, tell

13:47:08   8    me this, tell me that but for purposes of the status, are we

13:47:14   9    clear on the different position?       You may not agree with it

13:47:17 10     factually but you understand their position.         Is there anything

13:47:21 11     that we need -- is there anything to be gained by continuing and

13:47:29 12     having this discussion rather than wait until in my

13:47:33 13     lackadaisical, slow way I get around to handling all of the

13:47:37 14     pending motions.     And I do apologize for some delay, but I've

13:47:42 15     had three major surgeries in the last year and I missed a lot of

13:47:46 16     work.   But I'm over it, so I'm back and I am working and working

13:47:51 17     hard to try to get everything that is overdue done.          And I

13:47:55 18     apologize for any delay that has come up but stuff happens.

13:47:59 19     When your warranty expires as you know on your car, everything

13:48:06 20     starts to break and my warranty done expired.         So I very

13:48:09 21     cleverly fell downstairs at the University of Miami Law School

13:48:14 22     while I was teaching a class and severed my quadriceps in my

13:48:18 23     left leg, and then had that operation in February and then a

13:48:21 24     second operation in December because apparently I tore it again

13:48:24 25     slipping, and then a third operation in February or January


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13:48:32   1    30th.   So I'm back, and I -- periodically the judges get a two

13:48:36   2    or three month sabbatical where we do not get new cases and mine

13:48:39   3    is coming up at the beginning of July I believe, and since we

13:48:44   4    will not be getting new cases and since everything has kind of

13:48:47   5    gone dead anyway because of the coronavirus, I should have

13:48:51   6    plenty of time to deal with all of the pending motions and I

13:48:51   7    will.

13:48:54   8               Is there anything further to be gained by talking about

13:48:59   9    this at this point?       Let me ask Mr. Kernell or Mr. Schwartz.

13:49:05 10     Did I say that right?       I'm trying to read somebody else's

13:49:06 11     writing.

13:49:08 12                MR. SCHWARTZ:     It's just Mr. Schwartz, Your Honor, and

13:49:11 13     I'm happy to hear that you're back on your feet.

13:49:16 14                THE COURT:     Kind of.   But anyway, I've got competent

13:49:22 15     law clerks.     I also had a law clerk die, which is a very unusual

13:49:25 16     circumstance.     You don't often lose somebody in the middle of

13:49:30 17     their tenure as a law clerk, but that kind of messed me up a

13:49:34 18     little bit, but nothing compared to the tragedy of his family.

13:49:36 19     But I've got excuses, a lot of them.       How many do you want?

13:49:38 20                The bottom line is what can we do now?       What do you

13:49:40 21     need from this status conference right now, Mr. Schwartz or

13:49:43 22     Mr. Kernell?

13:49:46 23                MR. KERNELL:     Your Honor, this is Jim Kernell.     One

13:49:50 24     thing I think would be helpful, and perhaps some additional

13:49:58 25     briefing on this, is to have additional discovery as to the


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13:50:07   1    current sales and use of the Nextel mark because in spite of the

13:50:16   2    representations of Plaintiff, you cannot buy a Nextel line of

13:50:19   3    service today.    You haven't been able to do that for a number of

13:50:25   4    years.   So that mark is absolutely dead.       It's been abandoned.

13:50:30   5    And yes, those marks are still in force as they don't just go

13:50:35   6    abandoned on their own, you know, you have made the declarations

13:50:39   7    and such to the trademark office.       But the fact that they

13:50:43   8    haven't sold a line of service to Nextel for more than three

13:50:47   9    years, they have absolutely abandoned it, they have transferred

13:50:57 10     all those frequencies to T-Mobile, they're not offering

13:51:02 11     anything.    So that is pretty clear and we can show that with,

13:51:07 12     you know, documents from the FCC as to what frequencies are

13:51:14 13     assigned to what carriers.

13:51:20 14                 As far as any devices that have Nextel on them, our

13:51:24 15     motion for an injunction was having to do with Sprint trying to

13:51:31 16     relabel some devices that they had just in the last -- well,

13:51:35 17     within the last year decided that they were going to try and

13:51:39 18     relabel some devices, and it was only with a sticker trying to

13:51:45 19     bolster their position that they are using Nextel.         However,

13:51:50 20     they have not -- not a single one of those devices are available

13:51:54 21     in a Sprint store that say Nextel on them.        And so I think it

13:51:58 22     would be -- I think it would be worthwhile to do an expedited

13:52:05 23     discovery for Sprint to provide sales and things -- and provide

13:52:10 24     actual devices that show the Nextel on them, on the device

13:52:17 25     itself or on a box that are current, not something from 2013 or


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13:52:22   1    '15 or, you know, the ones that they produced in discovery that

13:52:27   2    were, you know, years and years out of date and hadn't been

13:52:31   3    used.   So, you know, from the Defendant's standpoint, I think it

13:52:36   4    would be helpful and provide the additional information to the

13:52:41   5    Court showing that those marks have in fact been abandoned.

13:52:44   6              MS. WHEATLEY:    Your Honor, this is Lucy Wheatley for

13:52:46   7    the Plaintiff.    May I respond to that?

13:52:48   8              THE COURT:    Yes.   Go ahead.

13:52:52   9              MS. WHEATLEY:    So discovery has been closed for a very

13:52:58 10     long time and there's absolutely no basis to reopen it because

13:53:03 11     regardless what discovery right now could show, and it's going

13:53:07 12     to show the same thing it showed previously, it doesn't make any

13:53:12 13     difference for any of the claims in this case.        It doesn't make

13:53:15 14     any difference whatsoever.      It's not a moving target that

13:53:20 15     changes over time.     The question in this case is whether

13:53:26 16     Defendants infringed, and that infringement started back in

13:53:32 17     2016.   And so regardless of what Sprint does in the future,

13:53:36 18     nothing could change the fact that Defendants infringed back in

13:53:42 19     2016.   Sprint frankly could have abandoned Nextel in 2019.         It

13:53:45 20     still wouldn't change the fact that Defendants infringed, so it

13:53:50 21     wouldn't change the issues in this case.        So further discovery

13:53:53 22     here is going to be burdensome, it's going to delay everything,

13:53:59 23     there's no basis for it and it's just sort of a ploy because

13:54:02 24     Defendants have not come up with any evidence to support their

13:54:06 25     case so they're hoping if they keep pushing this out and keep


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13:54:09   1    pushing this out eventually they'll come up with some evidence.

13:54:13   2    But that's really not fair to the Plaintiff and it's not the

13:54:17   3    law.   The clock started when we filed this complaint and it went

13:54:20   4    three years backwards from the filing of this complaint.          That's

13:54:25   5    the relevant abandonment period.       So we don't need any further

13:54:32   6    evidence, and we have fully briefed summary judgment motions

13:54:35   7    that are ready to be decided and that's the record and that's

13:54:39   8    what we should decide on.

13:54:44   9              THE COURT:    Well, obviously it seems to me that we need

13:54:48 10     to get moving on both of these motions.        I was thinking of just

13:54:51 11     lifting the stay, but I don't think I want to do that until I

13:55:02 12     have entered an order on all pending motions, and I will do my

13:55:07 13     very best to have that done in a very short period of time and

13:55:09 14     then we'll set it for trial and we'll see what happens.          I do

13:55:13 15     not think that we need to reopen discovery at this point.          What

13:55:18 16     we're talking about is something that is back from the time of

13:55:19 17     the filing of the complaint.

13:55:23 18               All right.    I'm going to maintain the status quo.       I

13:55:29 19     promise you that I will do my best to get an order out on all

13:55:35 20     pending motions, and then we will reset the case for trial.             And

13:55:40 21     since we are having tremendous difficulty in lining up criminal

13:55:45 22     cases which, as you know according to Congress takes precedence,

13:55:50 23     you guys kind of fall by the wayside.       But you try to get

13:55:53 24     somebody over here from Federal Detention Center which I can see

13:55:57 25     out my window, and each time they walk across the street to our


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13:56:02   1    building they have to go into a two-week quarantine when they go

13:56:05   2    back, which makes it very difficult to justify calling them over

13:56:09   3    for any preliminary matters and even for taking a plea.          So

13:56:19   4    civil cases all of a sudden have gained tremendous benefit in

13:56:24   5    their ability to go to trial, and we're going to do our best to

13:56:28   6    try to keep clearing our docket with everything that we can.

13:56:31   7    I'll do my best.     I can't tell you exactly how long it will be,

13:56:35   8    but it will be the best I can do and it will -- it wouldn't be

13:56:36   9    forever.

13:56:39 10                Anything else we need to talk about today?

13:56:42 11                MS. WHEATLEY:     No, Your Honor, and thank you very much.

13:56:44 12                THE COURT:     Thank you.    And thank you Mr. Kernell and

13:56:47 13     Mr. Schwartz also.

13:56:47 14                MR. KERNELL:     Thank you, Your Honor.

13:56:48 15                MR. SCHWARTZ:     Thank you, Your Honor.

13:56:49 16                THE COURT:     We'll be talking again.     Thank you very

13:56:50 17     much.

13:56:52 18                MR. KERNELL:     Okay.    Thank you.

13:56:53 19                THE COURT:     Bye now.

13:56:54 20                MS. WHEATLEY:     Bye.

13:56:54 21                (PROCEEDINGS CONCLUDED)

13:56:54 22                           C E R T I F I C A T E
                I certify that the foregoing is a correct transcript from the
13:56:54 23     record of proceedings in the above-entitled matter.
                9/21/2020              /s/ Dawn M. Savino, R.P.R., C.R.R.
13:56:54 24     Date                       DAWN M. SAVINO, R.P.R., C.R.R.

13:56:54 25


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